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EXHIBIT 1
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13 Page 2 ofph§. 1 of 15

Proc-Type: 2001,MIC-CLEAR.
Originator-Name:
Originator-Key-Asymmetric:

webmaster@www,sec.gov

MFgwCgYEVOgBAQICAf 8 DSgAwRWJAW2SNKK9AVtBzY Zmr 6aGj lWyK3XmZv30T INen
TWSM7 vr zZLADbmYQaionwg 5s DW3P60aM5D3tdezXMm7z1T+B+twIDAQAB

MIC-Info: RSA-MD5, RSA,

T8orof6G7Awmn0C9fIg4KVrLi0QlyhezDPUNVL42iuSUlmyipLMLoDMbjxXtt63cl

HS6b9NrmZXry6AemGSJy/A==

<SEC-DOCUMENT>0000927946-00-000018. txt
<SEC-HEADER> 0000927946-00-000018.hdr.sgml

ACCESSION NUMBER:
CONFORMED SUBMISSION TYPE:
PUBLIC DOCUMENT COUNT:
FILED AS OF DATE:

SUBJECT COMPANY:

COMPANY DATA:

20000209

: 20000209
0000927946-00-000018
SC 13D/A
3
20000208

COMPANY CONFORMED NAME:
CENTRAL INDEX KEY:
STANDARD INDUSTRIAL CLASSIFICATION:

IRS NUMBER:
FISCAL YEAR END:

FILING VALUES:
FORM TYPE:
SEC ACT:
SEC FILE NUMBER:
FILM NUMBER:

BUSINESS ADDRESS:
STREET 1:
STREET 2:
CITY:
STATE:
ZIP:
BUSINESS PHONE:

MAIL ADDRESS:
STREET 1;
STREET 2:
CITY:
STATE:
ZIP:

FILED BY:

COMPANY DATA:

SC 13D/A

0005-50973
526192

GEMSTAR INTERNATIONAL GROUP LTD
0000923282

HOUSEHOLD AUDIO & VIDEO EQUIPMENT
980139960

0331

[3651]

135 NORTH LOS ROBLES AVE

STE 800
PASADENA
CA

91101
8187925700

135 N LOS ROBLES AVE

STE 800
PASADENA
CA

91101

COMPANY CONFORMED NAME:

CENTRAL INDEX

KEY:

STANDARD INDUSTRIAL CLASSIFICATION:

FILING VALUES:
FORM TYPE:

BUSINESS ADDRESS:
STREET 1:
STREET 2:
CITY:
STATE:

MAIL ADDRESS:

STREET 1:
CITY:
STATE:
</SEC-HEADER>
<DOCUMENT>
<TYPE>SC 13D/A
<SEQUENCE>1

<DESCRIPTION>SC 13D/A
<TEXT>

SC 13D/A

THOMSON MULTIMEDIA
0001080259
HOUSEHOLD AUDIO & VIDEO EQUIPMENT [3651]

46 QUAI A LE GALLO

92100
BOULOGNEFRANCE
10

46 QUAI A LE GALLO

BOULOGNE FRANCE
10
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION
Washington, D.C. 20549
SCHEDULE 13D

Under the Securities Exchange Act of 1934
(Amendment No. 1}

GEMSTAR INTERNATIONAL GROUP LIMITED
(Name of Issuer)

Ordinary Shares, par value $.01 per share
(Title or Class of Securities)

G-3788-V106
(CUSIP Number)

Philippe Andrau
THOMSON multimedia S.A,
46 Quai A. LeGallo
92100 Boulogne

FRANCE
331-4126-5174

(Name, Address and Telephone Number of Person

Authorized to Receive Notices and Communications)

October 3, 1999
(Date of Event Which Requires Filing of this Statement)

If the filing person has previously filed on Schedule 13G to report the
acquisition which is the subject of this Schedule 13D, and is filing this
schedule because of Rule 13d-1(b) (3) or (4), check the following box |_|.

Page 1 of 22

<PAGE>

CUSIP No. G-3788-V106

1. NAME OF REPORTING PERSON
I.R.S, IDENTIFICATION NO. OF ABOVE PERSON (ENTITIES ONLY)

THOMSON multimedia S.A,

2. CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP
(a) tI
(b) 1X|
3. SEC USE ONLY
4, SOURCE OF FUNDS
Wwe
5. CHECK BOX IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED
PURSUANT TO ITEMS 2(d) OR 2(e) l_|
6. CITIZENSHIP OR PLACE OF ORGANIZATION
France

NUMBER OF SHARES BENEFICIALLY OWNED BY EACH REPORTING PERSON WITH

Page 3 OfPage 2 of 15
ll.

12.

13.

14,

<PAGE>

Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13

7 SOLE VOTING POWER... . cee eee eee teen eee ....None
8 SHARED VOTING POWER........-.-+ pene nee ee eens 12,307,464
9. SOLE DISPOSITIVE POWER. ..... cece eee enter errr ees . None
10. SHARED DISPOSITIVE POWER, ..... cece cece ee eee 12,307, 464

AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON
12,307,464

CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN
SHARES |_|

PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW 11
6.1%

TYPE OF REPORTING PERSON
co

Page 2 of 22

CUSIP No. G=3788-V106

1.

NAME OF REPORTING PERSON
I.R,S. IDENTIFICATION NO. OF ABOVE PERSON (ENTITIES ONLY)

Thomson S.A.

CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP
{a) td
(b) |X]

SEC USE ONLY

SOURCE OF FUNDS

AF

CHECK BOX IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED
PURSUANT TO ITEMS 2(d) OR 2(e) |_|

CITIZENSHIP OR PLACE OF ORGANIZATION

France

NUMBER OF SHARES BENEFICIALLY OWNED BY EACH REPORTING PERSON WITH

ll.

12.

13.

14,

<PAGE>

7 SOLE VOTING POWER... .. eee ee eee tenets None
8 SHARED VOTING POWER......,...+-- tenes eee 12,307,464
9. SOLE DISPOSITIVE POWER. ..... cee eee e ete ees None
10. SHARED DISPOSITIVE POWER. ... err perce ee eees 12,307,464

AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON
12,307,464

CHECK BOX IF THE AGGREGATE AMOUNT IN ROW {11) EXCLUDES CERTAIN
SHARES |_|

PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW 11
6.1%

TYPE OF REPORTING PERSON
co

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Page 4 Ofphe 3 of 15
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13 Page 5 Of FiBe A of 15

SCHEDULE 13D
AMENDMENT NO, 1

The following information updates and revises the material contained in
the original Schedule 13D report, filed April 23, 1998 (the "Original 13D") by
THOMSON multimedia S.A., a French societe anonyme (the "Company"), relating to
the voting Ordinary Shares, par value $.01 per share (the "Ordinary Shares"), of
Gemstar International Group Limited, a British Virgin Islands corporation
("Gemstar").

Item 1. Security and Issuer.

This Schedule 13D relates to the Ordinary Shares of Gemstar, with
principal executive offices located at 135 North Los Robles Avenue, Suite 800,
Pasadena, California 91101.

Item 2. Identity and Background.

This Schedule 13D is being filed jointly by the Company and Thomson
S.A., a French societe anonyme. The Company's principal business involves the
manufacture and distribution of consumer electronics products. The Company is
organized under the laws of France and has its principal executive offices at 46
Quai A. Le Gallo, 92100 Boulogne, France. The Company is a wholly-owned
subsidiary of Thomson S.A.

Thomson S.A.'s principal executive offices are at 173 Boulevard
Haussmann 75008 Paris, France. Thomson S.A. principally acts as a holding
company for the French government. All of the outstanding shares of Thomson S.A.
are owned by the French government.

Schedules A, B, C and D respectively, attached hereto and incorporated
herein by reference, set forth the name, business address, present principal
occupation or employment of the executive officers and directors of the Company
and Thomson S.A. and the name, principal business and address of any company or
organization in which such employment is carried on, and the citizenship of each
director, executive officer and controlling person of the Company and Thomson
S.A.

During the last five years, none of the Company, Thomson S.A. or any of
the persons named on the attached Schedules A, B, C or D has been convicted ina
criminal proceeding (excluding traffic violations or similar misdemeanors) or
waS a party to acivil proceeding of a judicial or administrative body of
competent jurisdiction as a result of which any such person was or is subject to
a judgment, decree or final order enjoining future violations of, or prohibiting
Or mandating activities subject to, federal or state securities laws or finding
any violation with respect to such laws.

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<PAGE>

Item 3. Sources and Amount of Funds or Other Consideration.

2,020,666 Ordinary Shares were acquired by the Company as a result of
the merger of Starsight Telecast, Inc. ("Starsight"), in which the Company held
shares, with a subsidiary of Gemstar on May 8, 1997 (the "Merger"). At the time
of the Merger, the Company also held two warrants to purchase Starsight shares
which were converted into warrants to purchase. Ordinary Shares as a result of
the Merger. Each warrant entitled the Company to purchase an additional 606,200
Ordinary Shares, the first at a purchase price of $12.30 per share and the
second at a purchase price of $16.50 per share.

On February 12, 1998, the Company purchased 600,000 Ordinary Shares

from Viacom International Inc. ("Viacom") at an aggregate price of $19,200,000
(equal to $32.00 per Ordinary Share) pursuant toa Letter Agreement dated
February 7, 1998, between the Company and Viacom (the "Letter Agreement"). The

purchase was consummated using the Company's general corporate funds.
Item 4. Purposes of Transaction.

The shares reported were acquired in connection with the Merger and the
transaction described in Item 3 and are held for investment purposes.

On October 4, 1999, Gemstar, TV Guide, Inc., a Delaware corporation
("TV Guide") , and G Acquisition Subsidiary Corp., a Delaware corporation
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("Sub"), entered into an Agreement and Plan of Merger (the "Merger Agreement"),
pursuant to which upon consummation of the transactions contemplated therein, TV
Guide will become a wholly owned subsidiary of Gemstar. Concurrently with the
execution of the Merger Agreement, the Company entered into an agreement (the
"Voting Agreement") pursuant to which the Company agreed to vote its shares in
favor of the transactions contemplated by the Merger Agreement (including the
issuance of Gemstar's Ordinary Shares in connection with the Merger and the
redomestication of Gemstar from the British Virgin Islands to the State of
Delaware) and against any inconsistent proposals or transactions. In addition,
the Company granted an irrevocable proxy to certain officers of TV Guide and
appointed such officers as its attorney-in-fact to vote all the _ shares
beneficially owned by the Company in accordance with the provisions of the
Voting Agreement. The Voting Agreement is attached hereto as Exhibit 99.1.

Although the Company may, from time to time, purchase and sell Ordinary
Shares in public or private transactions, other than as described above and as
contemplated by the Voting Agreement, neither the Company or Thomson S.A. has
present plans or proposals which may relate to or would result in (a) the

acquisition or disposition of additional securities of Gemstar; (b) an
extraordinary corporate transaction, such as a merger, reorganization or
liquidation, involving Gemstar or any of its subsidiaries; (c) a sale or

transfer of a material amount of assets of Gemstar or any of its subsidiaries;
{d) any change in the present Board of Directors or management of Gemstar,
including any plans or proposals to change the number or term of directors or to
fill any existing vacancies on the Board; (e) any material change in the present
capitalization or dividend policy of Gemstar; (f) any other material change in
Gemstar's business or corporate

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<PAGE>

structure; (g) changes in Gemstar's charter, by- laws or instruments
corresponding thereto or other actions which may impede the acquisition of
control of Gemstar by any person; ({(h) causing a class of securities of Gemstar

to be delisted from a national securities exchange or to cease to be authorized
to be quoted inan inter-dealer quotation system of a registered national
securities association; (i) a class of equity securities of Gemstar becoming
eligible for termination of a registration pursuant to section 12(g)(4) of the
Securities Exchange Act of 1934, as amended; or (j) any action similar to any of
those enumerated above.

Item 5. Interest in Securities of the Issuer,

The Company beneficially owns 12,307,464 Ordinary Shares, which
represent approximately 6.1% of the Ordinary Shares of Gemstar outstanding on
September 30, 1999, as reported on Gemstar's Form 10-Q report for the quarter
ended as of September 30, 1999, with this number of Ordinary Shares outstanding
adjusted for Gemstar's two-for-one stock split paid in December 1999. On January
30, 1998, the Company agreed to the cancellation of the first of the two
warrants to purchase 606,200 Ordinary Shares in exchange for a payment from
Gemstar of $12,807,700 or $21.13 per Ordinary Share. In January 1999, the
Company exercised the remaining warrant for 606,200 Ordinary Shares, paying
Gemstar $10,002,300 or $16.50 per Ordinary Share. In April and May of 1999, the
Company sold Ordinary Shares of Gemstar in open market transactions on the New
York Stock Exchange as follows:

Number of Ordinary Price per
Date of Sale Shares Sold Ordinary Share

April 22, 1999 5,000 $102.1250
April 23, 1999 45,000 100.6000
April 26, 1999 50,000 110.0000
April 27, 1999 25,000 120.5375
May 6, 1999 15,000 125.1000
May 12, 1999 10,000 125.0000

In April 1999, Gemstar's Board of Directors approved a_ two-for-one
stock split inthe form of a stock dividend which was paid in May 1999 to
shareholders of record as of May 14, 1999.

In November 1999, Gemstar's Board of Directors approved a second
two-for-one stock split in the form of a stock dividend which was paid in
December 1999 to shareholders of record as of November 29, 1999.
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<PAGE>

The Company shares voting and investment power with respect to all
shares reported with Thomson S.A. as the Company's majority shareholder. Thomson
S.A., as the majority shareholder of the Company, may be deemed to be the
beneficial owner of all of the Ordinary Shares owned by the Company.

Item 6. Contracts, Arrangements, Understandings or Relationships with Respect to
Securities of the Issuer.

The Company entered into the Voting Agreement on October 3, 1999.
Item 7, Material to be Filed as Exhibits.

99.1 Voting Agreement dated October 3, 1999 between TV Guide, Inc.
and THOMSON multimedia S.A.(The number of Ordinary Shares
beneficially owned by the Company as stated on Schedule 1 to
the Voting Agreement does not reflect the sale of 150,000
Ordinary Shares by the Company in April and May of 1999 or

the two-for-one stock split paid in December 1999.)

99.2 Agreement relating to filing of joint statements as required
by Rule 13d-1(k).

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<PAGE>

SIGNATURE
After reasonable inquiry and to the best of my knowledge and belief, I

certify that the information set forth in this statement is true, complete and
correct.
Date; February 7, 2000

THOMSON MULTIMEDIA S.A.

By:/s/ Jim Meyer

Jim Meyer

Senior Executive Vice
President

THOMSON S.A.

By:/s/ Patrice Maynial
Patrice Maynial
Corporate Secretary

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<PAGE>

SCHEDULE A
THOMSON MULTIMEDIA S.A.
EXECUTIVE OFFICERS

Page 7 OfplLGe 6 of 15
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13 Page 8 ofPeGe 7 of 15

<TABLE>
<CAPTION>

NAME

<S>

Thierry Breton

Patrice Maynial

Olivier Mallet

Olivier Barberot

Herve

Hannebicque

Christophe
Ripert

Jim Meyer

Alain Carlotti

<PAGE>

Al Arras

Gilles Taldu

John Neville

Charles Dehelly

Frank Dangeard

Michael O'Hara

Enrique
Rodriguez

BUSINESS ADDRESS

<C>

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

10330 N. Meridian St,

Indianapolis, IN
USA

1000 Toa Payoh North
Singapore 31899

10330 N. Meridian St.

Indianapolis, IN
USA

46 Quai A, LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

10330 N. Meridian St.

Indianapolis, IN
USA

10330 N. Meridian St.

Indianapolis, IN
USA

PRINCIPAL
OCCUPATION OR

EMPLOYMENT (Reported positions
are with THOMSON multimedia S.A.)

<C>

Chairman of the Board and
Chief Executive Officer

Senior Vice President,
Corporate Secretary and
Legal Counsel

Senior Vice President of
Finance

Senior Vice President of
Human Resources

Senior Vice President of
Entrepreneurship

Senior Executive Vice
President of SBU Europe

Senior Executive Vice
President of SBUs Americas,
Multimedia Products and
New Media Services

Executive Vice President of
SBU Asia

Page 9 of 22

Executive Vice President of
SBU Audio and
Communications

Executive Vice President of
SBU Displays and Key
Components

Intellectual Property
Coordination (Senior
Executive Vice President)

Senior Executive Vice
President of Operations
Coordination

Senior Executive Vice
President of Corporate
Coordination

Senior Vice President of

SBU Americas

Vice President of SBU
Multimedia Products

CITIZENSHIP

<C>

French

French

French

French

French

French

American

French

American

French

American

French

French

American

Mexican
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13

</TABLE>

<PAGE>

<TABLE>
<CAPTION>
NAME

<S>

Thierry Breton

Emmanuel
Caquot

Jacques-Louis
Lions

Stephane Pallez

Marcel Roulet

Frank Dangeard

Pierre Cabanes

<PAGE>

Jacques
Dunogue

Eddy W.
Hartenstein

Bernard Vergnes

Page 10 of 22

SCHEDULE B

THOMSON MULTIMEDIA S.A.

BUSINESS ADDRESS

<C>

46 Quai A. LeGallo
92100 Boulogne
France

Le Bervil - 12 rue
Villiot

Digitip 3

75572 Paris Cedex 12
France

3, rue d'Anjou
75008 Paris
France

139 rue de Berry -
Teledoc 227

75231 Paris Cedex 05
France

11, rue d'Anjou
75008 Paris
France

46 Quai A. LeGallo
92100 Boulogne
France

173, Ba Haussmann
75008 Paris
France

$4 rue de la Boelie
75008 Paris
France

2230 East Imperial
Highway

El Sequndo, CA 90245
USA

92977 Paris Le Defense
Cedex, France

DIRECTORS

PRINCIPAL
OCCUPATION OR
EMPLOYMENT
<C>

Chairman of the Board and
Chief Executive Officer of
THOMSON multimedia

S.A.

Section Head, French
Department of Industry

Professor Emeritus at
College de France

Deputy Director, French
Department of Treasury

Former Chairman and CEO
of Thomson $.A., Former
Chairman and CEO of
France Telecom

Senior Executive Vice
President of THOMSON
multimedia S.A., Senior
Executive Vice President of
Thomson S.A.

Senior Executive Vice
President of Thomson S.A.

22

Secretary General, Alcatel
S.A.

Corporate Senior Vice
President of Hughes
Electronics Corporation,
President of DIRECTV

Chairman of Microsoft,
Europe

Page 9 OfphGe 8 of 15

CITIZENSHIP

<C>

French

French

French

French

French

French

French

French

American

French
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13 Page 10 ofdge 9 of 15

Iwao Shinohara

Gerard
Meymarian

Jean de Rotalier

Catherine
Cavallari

</TABLE>

<PAGE>

<TABLE>
<CAPTION>

NAME

<S>
Thierry Breton

Pierre Cabanes

Frank Dangeard

Patrice Maynial

</TABLE>

<PAGE>

<TABLE>
<CAPTION>

NAME

<S>
Thierry Breton

7-1, Shiba 5-Chome
Minato-Ku Tokyo 108-
01 - Japan

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

BUSINESS ADDRESS

<C>

173 Boulevard
Haussmann, 75008
Paris, France

173 Boulevard
Haussmann, 75008
Paris, France

46 Quai A. LeGallo
92100 Boulogne
France

46 Quai A. LeGallo
92100 Boulogne
France

BUSINESS ADDRESS

<C>

46 Quai A. LeGallo
92100 Boulogne
France

Senior Vice President of
NEC Corporation

General Manager, Europe
TV Profit Center,
THOMSON multimedia

S.A.

Sales Planning Manager of
THOMSON multimedia
S.A.

Financial Controller of
THOMSON multimedia
S.A.

Page 12 of 22

SCHEDULE C
THOMSON S.A.
EXECUTIVE OFFICERS

PRINCIPAL
OCCUPATION OR
EMPLOYMENT

<C>

Chairman and Chief
Executive Officer of
Thomson S.A.

Senior Executive Vice

President of Thomson S.A.

Senior Executive Vice
President of Thomson S.A.

Corporate Secretary of
Thomson S.A.

Page 13 of 22

SCHEDULE D
THOMSON S.A.

PRINCIPAL
OCCUPATION OR
EMPLOYMENT

<C>
Chairman of the Board and

Chief Executive Officer of

THOMSON multimedia
S.A.

Japanese

French

French

French

CITIZENSHIP

<C>
French

French

French

French

CITIZENSHIP

<C>
French
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13 Page 11 Pagé 10 of 15

Jean-Paul
Gillyboeuf

Jean-Pierre
Noblanc

Paul Hamon

Serge Bourget

<PAGE>

M. Didier
Bureau

M. Michel Colin

M. Jerome Haas

M. Guy de
Monchy

M. Mare Tessier

M. Thierry

Aulagnon

M. Bernard
Larrouturou

26, Bd. Victor
00460 Paris Armees
France

31/33 rue de la
Federation 75752 Paris,
Cedex 15

France

17, Boulevard Gaston-
Birge

BP 826

49808 Anges Cedex
France

17, Boulevard Gaston-
Birge

BP 826

49808 Anges Cedex
France

Page 14 of

Le Bervil - 12 rue
Villiot

DIGITIP 3

75572 Paris Cedex 12
France

16, avenue de Saint-
Cloud

78018 Versailles Cedex
France

139 rue de Bercy -
Teledoc 227

75572 Paris Cedex 12
France

139 rue de Berch -
Teledoc 653

75572 Paris Cedex 12
France

7 Esplanada Henri de
France
75907 Paris Cedex 165
France

2 rue Pilet~-Will
75009 Paris
France

Domaine de Voluceau
Rocquencourt - BP 105
78153 Le Chesnay
Cedex, France

Adjoint au Delegue General
pour l'Armement

Delegation Generale pour
l'Armement (French
government)

Directeur aupres du
President de CEA Industrie,
charge des Composants
President du Conseil de
Surveillance de SGS-
THOMSON (Semiconductor
company)

Operateur for Thomson
Television Angers, a
subsidiary of Thomson S.A.

Analyste programmer,
Thomson Television Angers,
a subsidiary of Thomson
S.A.

Ministere De L'Economie,
Des Finances Et De
L'Industrie - Secretariat A
L'Industrie (French
Government)

Tresoner Payeur General des
Yvelines

Tresorere Generale Des
Yvelnes (French

Government

Sous-Directeur au Service
des Participations a la
Direction du Tresor
Ministere De L'Economie,
Des Finances Et De
L'Industrie (French
Government)

Chef de Service

Direction de la Prevision
Ministere De L'Economie,
Des Finances Et De
L'Industrie (French
Government)

President de FRANCE
Television (television
broadcasting company)

Directeur General du G.A.N.
Direction Generale Deleguee
Finances et Logistique

President Directeur General
de INRIA (French
Government)

French

French

French

French

French

French

French

French

French

French

French
Case 4:07-cv-05944-JST Document 2235-5 Filed 11/25/13 Page 12 Pag6 11 of 15

<PAGE>

M. Guy de
Panafieu

M Ervin
Rosenberg

M. Jean-Marie
Duboc

M. Alain
Rocoplan

M, Gilles Bujot

M., Berirand Le
Menestrel

M. Thierry Colin

M. Christian
Chiarasini

<PAGE>

M. Patrick de
Cambourg

M. Alain
Grosmahn

</TABLE>

</TEXT>
</DOCUMENT >
<DOCUMENT>
<TYPE>EX-99,1

Page 15 of 22

Bureau 59A64 - 68
route de Versailles
BP 434

78434 Louveciennes
Cedex, France

Direction des Grandes
Entreprises

2 rue Laffitte

75450 Paris Cedex 09

46, Quai Alphonse Le
Gallo

92100 Boulogne
France

Route de Dole
21110 Genlis
France

Rue Du Gatinais
BP 3

77167 Bagneaux Sur
Long

France

14 rue Saint-Dominque
00450 Paris Armees
France

Tour Franatome

Cedex 16

92084 Paris La Defense
France

41 rue Ybry
92576 Neuilly Sur Seine
Cedex, France

Page 16 of

Tour Framatome

Cedex 16

92084 Paris La Defense
France

41, rue Ybry
92576 Neully Sur Seine
Cedex, France

President Directeur General
du Groupe BULL (computer
equipment and information
services company)

Membre du Cornite de
Direction Generale de la

B.N.P. (financial institution)

Representant des salaries
Thomson Multimedia S.A.

Representant des salaries
Thomson Tubes & Display

Representant des salaries
Thomson Videoglass

Controleur General des
Armees

Groupe de Controle des
Services et des Industries
d'Armement (French
Government)

Commissaire aux Comptes
titulaire

Cabinet Mazars & Guerard
(French Government)

Commissaire aux Comptes
titulaire

Cabinet Barbier Frinault &
Autres (French Government)

Commissaire aux Comptes
suppleant

Cabinet Mazars & Guerard
(French Government)

Commissaire aux Comptes
suppleant

Cabinet Barbier Frinault &
Autres (French Government)

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<SEQUENCE>2
<DESCRIPTION>EXHIBIT 99.1
<TEXT>

Exhibit 99,1

October 3, 1999

TV Guide, Inc.
7140 S. Lewis Avenue
Tulsa, Oklahoma 74136-5422

Re: Agreement of Principal Stockholder Concerning Transfer and
Voting of Shares of Gemstar International Group Limited

The undersigned understands that TV Guide, Inc., A Delaware corporation
("TV Guide"), and Gemstar International Group Limited, a British Virgin Islands
corporation ("Gemstar"), of which the undersigned is a stockholder, are prepared
to enter into an agreement for the merger (the "Merger") of G Acquisition
Subsidiary Corp., a Delaware corporation ("Sub"), into TV Guide, but that TV
Guide has conditioned its willingness to proceed with such agreement (the
"Merger Agreement") upon receipt from the undersigned of assurances satisfactory
to TV Guide of the undersigned's support of and commitment to the Merger. In
order to evidence such commitment and to induce TV Guide to enter into the
Merger Agreement, the undersigned hereby represents and warrants to TV Guide and
agrees with TV Guide as follows:

1. Voting. The undersigned will vote or cause to be voted at any
meeting of the stockholders of Gemstar and in any action by consent by the
stockholders of Gemstar all shares of capital stock of Gemstar owned of record
or beneficially owned or held in any capacity by the undersigned or under the
control of the undersigned in favor of the Merger and the issuance of the Parent
Common Stock in connection with the Merger and other transactions provided for
in or contemplated by the Merger Agreement (including the domestication of
Gemstar from the British Virgin Islands to the State of Delaware), and against
any inconsistent proposals or transactions.

2. Ownership. As of the date hereof, Schedule 1 hereto sets forth the
shares of Parent Common Stock owned by the undersigned of record or
beneficially, including shares issuable upon the exercise or conversion of
options or convertible securities of Gemstar (collectively, the "Shares").

3. No Ownership Interest. Except as set forth in Section 1, nothing
contained in this Voting Agreement shall be deemed to vest in anyone other than
the undersigned any direct or indirect ownership or incidents of ownership of or
with respect to any Shares. All rights, ownership and economic benefits of and
relating to the Shares shall remain and belong to the undersigned, and no one
shall have any authority to manage, direct, restrict, regulate, govern, or
administer any of the policies or operations of Gemstar or exercise any power or
authority to direct the voting of any of the Shares as a result of this Voting
Agreement, except to the extent otherwise expressly provided herein.

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4. Restrictions on Transfer. During the period from the date of the
Merger Agreement and continuing until the earlier of (i) September 30, 2000;
(ii) the termination of the Merger Agreement pursuant to its terms; or (iii) the
Effective Time (as defined in the Merger Agreement), the undersigned will not
sell, transfer, pledge or otherwise dispose of any of the Shares or any interest
therein or agree to sell, transfer, pledge or otherwise dispose of any of the
Shares or any interest therein, without your express written consent, unless the
transferee of the Shares agrees in writing to be bound by the terms of this
Voting Agreement; provided, however, that (x) the undersigned may, without your
consent, sell up to 15% of the Shares owned, in the aggregate, by the
undersigned, and (y} the undersigned may pledge the Shares to secure bona fide
indebtedness or bona fide monetization transactions or to secure the obligations
of a person in connection with derivative transactions and settlement

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obligations thereunder (including, without limitation, puts, calls, collars,
swaps, etc.) with respect to the Shares of Common Stock, provided that the terms
of such derivative transaction permit cash settlement of a party's obligations
thereunder and do not restrict our obligations to vote their pledged Shares in
accordance with Section 1 hereof. The provisions of Section 5 of this Agreement
shall not apply to Shares disposed of under clause (x) of the preceding sentence
of this Section 4.

5. Grant of Irrevocable Proxy; Appointment of Proxy.

(a) The undersigned hereby irrevocably grants to, and
appoints, Peter Boylan and Joe Kiener, in their respective capacities as
officers of the TV Guide, any individual who hereafter shall succeed to any such
office of TV Guide, and each of them individually, the undersigned's proxy and
attorney-in-fact (with full power of substitution), for and in the undersigned's
name, place and stead, to vote the Shares, or grant a consent or approval in
respect of such Shares, in accordance with our covenants in Section 1 hereof.

(b} The undersigned represents that any proxies heretofore
given in respect of the Shares are not irrevocable, and that all such proxies
are hereby revoked.

(c) The undersigned hereby affirms that the irrevocable
proxy set forth in this Section 5 is given in connection with the execution of
the Merger Agreement, and that such irrevocable proxy is given to secure the
performance of the undersigned's duties under this Agreement. The undersigned
hereby further affirms that the irrevocable proxy is coupled with an interest. an
may under no circumstances be revoked. The undersigned hereby ratifies and
confirms all that such irrevocable proxy may lawfully do or cause to be done by
virtue hereof.

6. Termination. This letter agreement and the undersigned's obligations
hereunder will terminate upon the earlier to occur of (i) the Effective Time as
defined in the Merger Agreement; (ii) the date on which the Merger Agreement is
terminated; or (iii) September 30, 2000,

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7. k§Effective Date; Succession; Remedies. Upon your acceptance and
execution of the Agreement, this letter agreement shall mutually bind and
benefit you and the undersigned, any of the undersigned's heirs, successors and
assigns any of your successors. You will not assign the benefit of this letter
agreement other than to a wholly owned subsidiary. The undersigned agrees that
in light of the inadequacy of damages as a remedy, specific performances shall
be available to you, in addition to any other remedies you may have for the
violation of this letter agreement.

8. Nature of Holdings; Shares. All references herein to our holdings of
the Shares shall be deemed to include Shares held or controlled by any of us,
individually, jointly (as community property or otherwise), or in any capacity,
and shall extend to any securities issued to any of us in respect of the Shares.

9. Defined Terms. All capitalized terms used herein shall have the
meaning ascribed to such term in the Merger Agreement, unless otherwise defined
herein.

10. Specific Performance. The parties hereto agree that irreparable
damage would occur in the event any provision of this Agreement was not
performed in accordance with the terms hereof and that the parties shall be
entitled to specific performance of the terms hereof, in addition to any other
remedy at law or equity.

Very truly yours,

Principal Stockholder

THOMSON multimedia S.A.

By: /s/ J.E. Meyer

Name: J.E. Meyer

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Its: Senior Executive
Vice President

ACCEPTED:
TV GUIDE, INC.

By: /s/ Peter C. Boylan III
Name: Peter C. Boylan IIT
Its: President

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Schedule 1

Beneficial Owner Ordinary Shares Owned

THOMSON multimedia S.A. 6,453,732

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<TYPE>EX-99.2

<SEQUENCE> 3
<DESCRIPTION>EXHIBIT 99.2
<TEXT>

EXHIBIT 99.2
AGREEMENT

Each of the undersigned persons hereby agrees that any statement on
Schedule 13D, including any amendments thereto, filed by any of such persons
with the Securities and Exchange Commission pursuant to Section 13(d}) under the
Securities Exchange Act of 1934, as amended, in respect of the beneficial
ownership of equity securities of Gemstar International Group Limited. shall be
deemed to be filed on behalf of each of such persons.

IN WITNESS WHEREOF, this Agreement has been executed by the parties
hereto effective on the 7th day of February, 2000.

THOMSON S.A.
By: /s/Patrice Maynial

Patrice Maynial
Corporate Secretary

THOMSON MULTIMEDIA S.A.

By:/s/ Jim Meyer
Jim Meyer
Senior Executive Vice
President

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